         Case 3:18-cr-00119-RS Document 424 Filed 01/21/22 Page 1 of 1




                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA
                          ZOOM CRIMINAL MINUTE ORDER

 Case No.: 18-cr-00119-RS-1 (JCS)         Case Name: USA v. Jonathan Aguilar, et al., (Custody, not
                                          present, appearances waived)

 Chief Magistrate Judge: JOSEPH C. Date: January 20, 2022                  Time: 1 H 11 M (2:32-3:43)
 SPERO

Attorney for Plaintiff: Andrew Scoble, Richard Ewenstein
Defendant:                                               Attorney for Defendant:
Jonathan Aguilar (1)                                     Martha Boersch
Juan Carlos Gallardo (3)                                 Julia Jayne, Ashley Riser
Orlando Carlos Hernandez (5)                             Harris Taback
Michael Rebolledo (6)                                   Donald Knight Mark Goldrosen,
                                                         Pam Herzig, Amy Knight
Mario Reyes (7)(No Custody)                              George Boisseau
Eddy Urbina (9)                                          Shaffy Moeel, James Thomson
Weston Venegas (10)                                      Gail Shifman

 Deputy Clerk: Karen Hom                                 Court Reporter: Belle Ball

                                       PROCEEDINGS

Discovery Hearing as to all pending discovery motions – Granted in part, denied in part.

                               ORDERED AFTER HEARING

Due to the pandemic, all counsel consent to appearing by Zoom video conference.
All counsel made oral waivers of appearances on behalf of their clients due to the pandemic.
Oral arguments were heard. Court issued rulings.
Parties shall prepare an order reflecting the Court’s rulings and submit to the Court.
Parties shall submit a stipulated protective order within sixty (60) days.

NOTE: Court did not hear Dft Weston Venegas’s Motion for Discovery, ECF 365. AUSA and
Ms. Shifman stipulated to continue this hearing to a future date (TBD). Andy Scoble and Don
Knight volunteered to be the scribes.


Order to be prepared by:
 [X] Plaintiff &  [X] Defendant           [ ] Court       [ ] Probation
